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                           EXHIBIT “B”
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   JUSTICE OF THE PEACE COURT OF THE STATE OF DELAWARE
              IN AND FOR KENT COUNTY, COURT 16

                                            )
  THOMAS L. LEE, JR.,                       )
                                            )
                      Plaintiff,            )
                                            )
               v.                           )
                                            )    No. JP16-23-003856
  CHEX SYSTEMS, INC.,                       )
                                            )
                      Defendant.            )
                                            )
                                            )

          CHEX SYSTEM, INC.’S NOTIFICATION OF REMOVAL

      PLEASE TAKE NOTICE THAT on July 7, 2023, Defendant Chex Systems,

Inc. (“ChexSystems”) filed a Notice of Removal of this action to the United States

District Court for the District of Delaware, thereby removing this action from this

Court to the United States District Court. A copy of the Notice of Removal that was

filed in the United States District Court is attached to this Notification of Removal.

As a result of such removal and in accordance with 28 U.S.C. § 1446(d), this Court

shall proceed no further with this action unless and until the case is remanded.

Dated: July 7, 2023                     By: /s/ James H. S. Levine
                                        James H.S. Levine (Bar No. 5355)
                                        TROUTMAN PEPPER
                                        HAMILTON SANDERS LLP
                                        1313 Market Street, Suite 5100
                                        Wilmington, DE 19899
                                        Telephone: 302.777.6536
                                        Facsimile: 302.421.8390
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                                    James.Levine@troutman.com

                                    Attorney for Chex Systems, Inc.




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                           CERTIFICATE OF SERVICE

             I hereby certify that, on July 7, 2023, I electronically filed the foregoing

ChexSystems, Inc.’s Notification of Removal using EFLEX which will send

electronic notification of such filing to plaintiff:

                                  Thomas L. Lee, Jr.
                                  150 Hawk Creek Lane
                                  Clayton, DE 19938


                                     By: /s/ James H. S. Levine
                                        James H.S. Levine (Bar No. 5355)
                                        Attorney for Chex Systems, Inc.




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